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December 12, 2024

E-Filed

The Honorable Thomas S. Hixson
United States District Court for the Northern District of California
San Francisco Courthouse, Courtroom E – 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Re:    Kadrey, et al v. Meta Platforms, Inc.; Case No. 3:23-cv-03417-VC

Dear Judge Hixson:
        Plaintiffs and Defendant Meta Platforms, Inc. (“Meta”) jointly submit this letter brief
regarding Plaintiffs’ argument that Meta waived privilege over documents related to its copyright
mitigation efforts for the Llama models. The parties conferred on December 10, but were unable
to reach a resolution.
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II.    META’S STATEMENT
        Plaintiffs’ attempt to invade Meta’s legal advice regarding its mitigation efforts is improper
and meritless. Meta properly redacted narrow portions of selected documents to protect privileged
information. Plaintiffs repeatedly ignore Ninth Circuit precedent approving of a party’s careful
redaction of legally privileged material from documents that serve both a business and legal
purpose. Their argument that Meta must produce entire documents unredacted because they are
purportedly primarily business documents—regardless of the legally privileged portions—is
wrong. By Plaintiffs’ logic, no dual-purpose document could ever be produced in redacted form.
         The other fallacy in Plaintiffs’ brief is that Meta has improperly used its mitigation efforts
as both a “sword and shield” to support its position that use of allegedly copyrighted material to
train its LLMs is fair use. That argument, too, is wrong. Plaintiffs conflate the non-privileged
actions Meta took to mitigate against risk (which Meta has disclosed), with the privileged legal
advice that Meta received leading up to those mitigation efforts (which Meta has appropriately
protected). Meta has properly provided discovery requested by Plaintiffs on the facts about Meta’s
mitigation efforts, including what mitigations were implemented and how they mitigate against
various harms, while nevertheless properly protecting the legal advice it sought and received.
Plaintiffs concede that Meta has provided such discovery, admitting that Mike Clark “described
certain of Meta’s copyright/IP mitigation efforts in detail and without any privilege objection” and
that “Meta also produced dozens of documents on the subject.” Plaintiffs point to no instance
where Meta has used privileged advice as a “sword.” In fact, Meta has stated unequivocally that it
is not relying on the advice of counsel defense, 2 and it is not arguing that its efforts were lawful
because it followed the advice of counsel. Relief should be denied.
       A. Meta’s Assertion of Privilege Over Legal Advice on Mitigation Efforts is Proper
        As before (see Dkts. 259, 3093), Plaintiffs’ attacks on Meta’s redacted documents,
mischaracterize the privileged redacted portions based on unsupported speculation from the non-
privileged portions of the document. This is not a sufficient factual basis to justify in camera
review. In re Grand Jury Investigation, 974 F.2d 1068, 1074 (9th Cir. 1992). To obtain in camera
review, Plaintiffs must present a factual basis sufficient to support a reasonable, good faith belief
that an in camera inspection may reveal evidence that the materials are not privileged. Id. at
1075. For the four documents briefed by Plaintiffs, they describe the non-privileged portions of
the documents but provide no facts to support the argument that the redactions are not privileged.
And Plaintiffs’ challenge to the list of 21 additional documents consists solely of a naked list of
Bates numbers (Ex. C), with no facts or reasoning whatsoever to support their privilege challenge.
This falls far short of their burden.
        Plaintiffs’ complaints are again based on the legally unsupported proposition that it is
improper for a party to redact privileged legal advice from documents that have both legal and
business purposes. Plaintiffs are wrong, as they have been on this point before. See Dkt. 309. The
fact “[t]hat the document as a whole addresses predominantly business matters does not negate
the privilege as to the portion containing requests for legal advice.” U.S. v. Chevron Corp., No.

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  Indeed, Plaintiffs served an interrogatory asking whether Meta was relying on advice of counsel
to support its fair use defense. Meta answered that it was not. Ex. F (Amended Resp. ROG 17).
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  In addition, Plaintiffs make the argument in the concurrently filed brief regarding Mr.
Choudhury’s deposition.


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C 94-1885 SBA, 1996 WL 444597, at *2 (N.D. Cal. May 30, 1996) (emphasis added); City of
Roseville Employees’ Ret. Sys. v. Apple Inc., No. 19CV02033YGRJCS, 2023 WL 5519304, at *8
(N.D. Cal. Aug. 25, 2023) (permitting redactions of legal advice even though “the remainder of
the document involves business advice.”); see also In re Meta Pixel Healthcare Litig., No. 22-CV-
03580-WHO (VKD), 2024 WL 3381029, at *6 (N.D. Cal. July 10, 2024) (same). In fact, it is
proper to redact legal advice found within business documents. See, e.g., Stirratt v. Uber Techs.,
Inc., No. 19-CV-06361-RS (DMR), 2024 WL 1723710, at *5 (N.D. Cal. Apr. 19, 2024) (approving
redactions in dual-purpose documents where “the primary purpose of the redacted information is
to give or receive legal advice rather than business advice.”) (emphasis added); Dolby Lab’ys
Licensing Corp. v. Adobe Inc., 402 F. Supp. 3d 855, 872 (N.D. Cal. 2019) (finding redactions
proper regarding counsel instructions in a document to support on-going licensing negotiations);
Illumina Inc. v. BGI Genomics Co., No. 19CV03770WHOTSH, 2021 WL 2662074, at *4 (N.D.
Cal. June 29, 2021) (finding proper redactions to an org chart where the “redaction…identifies a
specific legal risk”).
       Meta’s redactions of privileged legal advice from the three 4 challenged documents that also
address business matters adhere to this precedent. As detailed below, they are plainly proper:
   Meta_Kadrey_00045976. The redacted table Plaintiffs cite is titled “Legal Challenges” and
    contains a question to Meta’s in-house counsel,                                         .
   Meta_Kadrey_00046203. The redacted table that Plaintiffs cite includes the summary of legal
    advice regarding
   Meta_Kadrey_00078920. The document is a draft customer playbook that includes comments
    to and from Meta’s in-house counsel, Ahuva Goldstead, regarding various legal risks.
       B. Meta has not Waived the Privilege
        Contrary to Plaintiffs’ assertion, Meta has not used privilege as a sword; nor has Meta put
its legal advice at issue in this action. Under Plaintiffs’ improper argument, any legal advice to a
client about how to avoid infringing another’s copyright would be waived in a case alleging
copyright infringement. But evidence about facts—including what mitigation efforts Meta
employed
                                                                                        —does not
waive privilege over the legal advice Meta received. As Judge Corley explained: “Advice is not
in issue merely because it is relevant, and does not necessarily become in issue merely because
the attorney’s advice might affect the client’s state of mind in a relevant manner. The advice of
counsel is placed in issue where the client asserts a claim or defense, and attempts to prove that
claim or defense by disclosing or describing an attorney client communication.” Planet Aid, Inc.
v. Reveal, No. 17-cv-03695-MMC (JSC), 2018 WL 6079617, at *2 (N.D. Cal. Nov. 21, 2018)
(quoting Rhone-Poulenc Rorer Inc. v. Home Indem. Co., 32 F.3d 851, 863 (3d Cir. 1994)
(emphasis in original). Plaintiffs do not have a copyright infringement claim regarding the output.
(Dkt. 56 (dismissing Plaintiffs’ output theory).) Here, Meta denies Plaintiffs’ allegation of
copyright infringement as to training materials and has asserted a defense of fair use—including
because of the transformative nature of its use and the lack of effect on the market for Plaintiffs’


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 Meta has re-reviewed the documents and is producing one of the disputed documents as
unredacted: Meta_Kadrey_00051427.


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books. Plaintiffs point to nowhere that Meta has stated it cannot be liable because it relied on the
advice of its lawyers; nor has Meta tried to prove its defenses by disclosing or describing an
attorney client communication. See Planet Aid, Inc., 2018 WL 6079617 at *2. Instead, Meta’s
witnesses have recounted the fact that they employed certain mechanisms and processes to, for
example,                                                         and in answering questions about
such mitigations, have truthfully answered that they consulted with counsel. See id. This is evident
in Exhibits B, D, and E submitted by Plaintiffs, where each of Meta’s witnesses testified regarding
the fact that they had spoken with counsel; none of them put the advice of counsel at issue as the
basis for the fair use defense. Under Plaintiffs’ extreme view, “to avoid a waiver [Meta] would
have had to submit an inaccurate or at least incomplete [testimony] that omitted the true fact that
they consulted with counsel.” See Planet Aid, Inc. 2018 WL 6079617, at *2. This is not the law.
        Finally, the sparse case law cited by Plaintiffs is inapposite. Symettrica Ent. LTD. v. UMG
Recording, Inc., supra, held that the plaintiff asserting fair use of copyrighted material waived
privilege because it expressly and extensively quoted from its counsel’s Fair Use Opinion Letter
in the text of its publicly filed complaint, relying on this document to make its case. 2020 WL
13311700, at *29 (C.D. Cal. Apr. 30, 2020). Similarly, in Theranos, the defendant was found to
have waived the privilege because it intentionally disclosed privileged materials to the plaintiff’s
board in an explicit effort to refute the plaintiff’s claims of patent infringement and prove
inventorship, and it refused to disavow any reliance on the advice of counsel defense. Theranos,
Inc. v. Fuisz Techs. Ltd., No. C 11-5236 PSG, 2013 WL 2153276, at *13-15 (N.D. Cal. May 16,
2013) No such facts or other indicia of waiver are present here. The Court should deny Plaintiffs’
motion, decline to review the documents in Exhibit C in camera, and reject Plaintiffs’ assertion
that the cited documents are improperly redacted.
III.   PLAINTIFFS’ REPLY
         Meta argues that Plaintiffs’ analysis “falls far short of their burden” (emphasis added). This
flies in the face of the well-established rule that the “party asserting the attorney-client privilege
has the burden of establishing the relationship and the privileged nature of the communication,”
which is strictly construed. United States v. Bauer, 132 F.3d 504, 507 (9th Cir. 1997) (citations
omitted). And even if Meta can meet that burden, it must make a further “clear showing” that its
dual-purpose documents concern primarily legal advice. Meta does neither. Meta’s copyright and
IP mitigations are business issues; they are not converted into legal advice just because Meta
includes in-house counsel on every business team and in business communications and documents.
Meta again seems to think simply “attributing” information to in-house counsel in documents or
having in-house counsel comment on “legal risks” in business communications and documents
converts that into legal advice. Not so. See, e.g., Epic Games, 2024 WL 4947269 at *1.
        Even if Meta could satisfy its burden as to any of its redactions or documents withheld in
full on IP/copyright mitigation, Meta fails to grapple with the fact that it has produced documents
and testimony on other types of mitigation, including to address privacy risks. Ex. A-B. This sort
of selective production and withholding—disclosing some types of mitigation but not others, and
disclosing IP/copyright mitigation efforts in some contexts while claiming privilege in others—is
a sword-and-shield scenario constituting waiver. Even in purportedly disclaiming an advice-of-
counsel defense, Meta again put at issue its “legal review” of Llama training datasets when
answering ROG 17. Ex. F. Meta’s response confirms it intends to rely on its mitigation efforts,
including its IP/copyright mitigation as well as its in-house counsel’s input on those business
matters. The Court should not permit Meta to selectively withhold documents about those efforts.


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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)

       I hereby attest that I obtained concurrence in the filing of this document from each of the

other signatories. I declare under penalty of perjury that the foregoing is true and correct.



Dated: December 12, 2024                                      BOIES SCHILLER FLEXNER LLP


                                                              /s/ Maxwell V. Pritt
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